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 5
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 8
                                    UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11
      DARREN GILBERT                      )              No.
12                                        )
                 Plaintiff,               )              COMPLAINT ASSERTING DENIAL OF
13                                        )              RIGHT OF ACCESS UNDER THE
           vs.                            )              AMERICANS WITH DISABILITIES ACT
14                                        )
      SAM NAGI ESSMAIL dba MAZE BUDGET )                 FOR INJUNCTIVE RELIEF, DAMAGES,
15    MEAT & LIQUOR aka LOS COMPADRES )                  ATTORNEYS’ FEES AND COSTS (ADA)
      CARNICERIA; SAMIR MOHAMED           )
16                                        )
      AHMED, Trustee of THE SAMIR         )
17    MOHAMED AHMED AND AFRAH N.          )
      MUTHANA FAMILY TRUST dated 1-28-10; )
18    AFRAH N. MUTHANA, Trustee of THE    )
      SAMIR MOHAMED AHMED AND AFRAH ))
19
      N. MUTHANA FAMILY TRUST dated 1-28- )
20    10;                                 )
                                          )
21               Defendants.              )
                                          )
22                                        )
23                                              I. SUMMARY

24             1.        This is a civil rights action by plaintiff DARREN GILBERT (“Plaintiff”) for

25    discrimination at the building, structure, facility, complex, property, land, development, and/or

26    surrounding business complex known as:

27                       Maze Budget Meat & Liquor aka Los Compadres Carniceria
                         125 Maze Boulevard
28                       Modesto, California 95351
                         (hereafter “the Facility”)


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 1
                2.       Plaintiff seeks damages, injunctive and declaratory relief, attorney fees and
 2
      costs, against SAM NAGI ESSMAIL dba MAZE BUDGET MEAT & LIQUOR aka LOS
 3
      COMPADRES CARNICERIA; SAMIR MOHAMED AHMED, Trustee of THE SAMIR
 4
      MOHAMED AHMED AND AFRAH N. MUTHANA FAMILY TRUST dated 1-28-10; and
 5
      AFRAH N. MUTHANA, Trustee of THE SAMIR MOHAMED AHMED AND AFRAH N.
 6
      MUTHANA FAMILY TRUST dated 1-28-10 (hereinafter collectively referred to as
 7
      “Defendants”), pursuant to Title III of the Americans with Disabilities Act of 1990 (42 U.S.C.
 8
      §§ 12101 et seq.) (“ADA”) and related California statutes.
 9
                                             II.         JURISDICTION
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                3.       This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA
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      claims.
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                4.       Supplemental jurisdiction for claims brought under parallel California law –
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      arising from the same nucleus of operative facts – is predicated on 28 U.S.C. § 1367.
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                5.       Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
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                                                   III.     VENUE
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                6.       All actions complained of herein take place within the jurisdiction of the United
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      States District Court, Eastern District of California, and venue is invoked pursuant to 28 U.S.C.
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      § 1391(b), (c).
19
                                                   IV.     PARTIES
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                7.       Defendants own, operate, and/or lease the Facility, and consist of a person (or
21
      persons), firm, and/or corporation.
22
                8.       Plaintiff is substantially limited in his ability to walk, and must use a wheelchair
23
      or prosthetic for mobility. Consequently, Plaintiff is “physically disabled,” as defined by all
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      applicable California and United States laws, and a member of the public whose rights are
25
      protected by these laws.
26
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      //


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 1                                                   V.      FACTS
 2             9.        The Facility is open to the public, intended for non-residential use, and its
 3    operation affects commerce. The Facility is therefore a public accommodation as defined by
 4    applicable state and federal laws.
 5             10.       Plaintiff lives less than ten miles from the Facility and visited the Facility on or
 6    about July 11, 2021 to buy meat. During his visit to the Facility, Plaintiff encountered the
 7    following barriers (both physical and intangible) that interfered with, if not outright denied,
 8    Plaintiff’s ability to use and enjoy the goods, services, privileges and accommodations offered
 9    at the Facility:
10                       a)        Plaintiff was not able to park in the designated accessible parking stall in
11                                 the Facility’s parking lot because it was configured in such a way that he
12                                 could be blocked by another vehicle behind him, so he had to park in a
13                                 standard stall that lacked an access aisle. Additionally, Plaintiff wanted
14                                 to use his wheelchair to enter the Facility but the access aisle next to the
15                                 designated accessible parking stall was too narrow, so he would not have
16                                 been able to unload into it in any case. Since Plaintiff had to park in a
17                                 standard parking stall without an access aisle, he was unable to use his
18                                 wheelchair as there was another vehicle parked next to him.
19                       b)        Plaintiff observed that the Facility’s aisles lacked sufficient clear width.
20                                 If he had been using his wheelchair, he would not have been able to
21                                 navigate through the narrow aisles.
22             11.       The barriers identified in paragraph 10 herein are only those that Plaintiff is
23    presently aware of. Plaintiff is presently unaware of other barriers which may in fact exist at
24    the Facility and relate to his disabilities. Plaintiff will seek to amend this Complaint once such
25    additional barriers are identified as it is Plaintiff’s intention to have all barriers which exist at
26    the Facility and relate to his disabilities removed to afford him full and equal access.
27    //
28    //



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 1             12.       Plaintiff was, and continues to be, deterred from visiting the Facility because
 2    Plaintiff knows that the Facility’s goods, services, facilities, privileges, advantages, and
 3    accommodations were and are unavailable to Plaintiff due to Plaintiff’s physical disabilities.
 4    Plaintiff enjoys the goods and services offered at the Facility, and will return to the Facility
 5    once the barriers are removed.
 6             13.       Defendants knew, or should have known, that these elements and areas of the
 7    Facility were inaccessible, violate state and federal law, and interfere with (or deny) access to
 8    the physically disabled. Moreover, Defendants have the financial resources to remove these
 9    barriers from the Facility (without much difficulty or expense), and make the Facility
10    accessible to the physically disabled. To date, however, Defendants refuse to either remove
11    those barriers or seek an unreasonable hardship exemption to excuse non-compliance.
12             14.       At all relevant times, Defendants have possessed and enjoyed sufficient control
13    and authority to modify the Facility to remove impediments to wheelchair access and to
14    comply with the 1991 ADA Accessibility Guidelines and/or the 2010 ADA Standards for
15    Accessible Design. Defendants have not removed such impediments and have not modified the
16    Facility to conform to accessibility standards. Defendants have intentionally maintained the
17    Facility in its current condition and have intentionally refrained from altering the Facility so
18    that it complies with the accessibility standards.
19             15.       Plaintiff further alleges that the (continued) presence of barriers at the Facility is
20    so obvious as to establish Defendants’ discriminatory intent. On information and belief,
21    Plaintiff avers that evidence of this discriminatory intent includes Defendants’ refusal to adhere
22    to relevant building standards; disregard for the building plans and permits issued for the
23    Facility; conscientious decision to maintain the architectural layout (as it currently exists) at the
24    Facility; decision not to remove barriers from the Facility; and allowance that Defendants’
25    property continues to exist in its non-compliant state. Plaintiff further alleges, on information
26    and belief, that the Facility is not in the midst of a remodel, and that the barriers present at the
27    Facility are not isolated or temporary interruptions in access due to maintenance or repairs.
28    //



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 1                                           VI.     FIRST CLAIM
 2                                    Americans with Disabilities Act of 1990
 3                                  Denial of “Full and Equal” Enjoyment and Use
 4             16.       Plaintiff re-pleads and incorporates by reference the allegations contained in
 5    each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
 6             17.       Title III of the ADA holds as a “general rule” that no individual shall be
 7    discriminated against on the basis of disability in the full and equal enjoyment (or use) of
 8    goods, services, facilities, privileges, and accommodations offered by any person who owns,
 9    operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
10             18.       Defendants discriminated against Plaintiff by denying Plaintiff “full and equal
11    enjoyment” and use of the goods, services, facilities, privileges and accommodations of the
12    Facility during each visit and each incident of deterrence.
13                          Failure to Remove Architectural Barriers in an Existing Facility
14             19.       The ADA specifically prohibits failing to remove architectural barriers, which
15    are structural in nature, in existing facilities where such removal is readily achievable. 42
16    U.S.C. § 12182(b)(2)(A)(iv).
17             20.       When an entity can demonstrate that removal of a barrier is not readily
18    achievable, a failure to make goods, services, facilities, or accommodations available through
19    alternative methods is also specifically prohibited if these methods are readily achievable. Id.
20    § 12182(b)(2)(A)(v).
21             21.       Here, Plaintiff alleges that Defendants can easily remove the architectural
22    barriers at the Facility without much difficulty or expense, that the cost of removing the
23    architectural barriers does not exceed the benefits under the particular circumstances, and that
24    Defendants violated the ADA by failing to remove those barriers, when it was readily
25    achievable to do so.
26             22.       In the alternative, if it was not “readily achievable” for Defendants to remove
27    the Facility’s barriers, then Defendants violated the ADA by failing to make the required
28    services available through alternative methods, which are readily achievable.



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 1                                 Failure to Design and Construct an Accessible Facility
 2             23.       Plaintiff alleges on information and belief that the Facility was designed and
 3    constructed (or both) after January 26, 1993 – independently triggering access requirements
 4    under Title III of the ADA.
 5             24.       The ADA also prohibits designing and constructing facilities for first occupancy
 6    after January 26, 1993, that aren’t readily accessible to, and usable by, individuals with
 7    disabilities when it was structurally practicable to do so. 42 U.S.C. § 12183(a)(1).
 8             25.       Here, Defendants violated the ADA by designing and constructing (or both) the
 9    Facility in a manner that was not readily accessible to the physically disabled public –
10    including Plaintiff – when it was structurally practical to do so.1
11                                      Failure to Make an Altered Facility Accessible
12             26.       Plaintiff alleges on information and belief that the Facility was modified after
13    January 26, 1993, independently triggering access requirements under the ADA.
14             27.       The ADA also requires that facilities altered in a manner that affects (or could
15    affect) its usability must be made readily accessible to individuals with disabilities to the
16    maximum extent feasible. 42 U.S.C. § 12183(a)(2). Altering an area that contains a facility’s
17    primary function also requires making the paths of travel, bathrooms, telephones, and drinking
18    fountains serving that area accessible to the maximum extent feasible. Id.
19             28.       Here, Defendants altered the Facility in a manner that violated the ADA and
20    was not readily accessible to the physically disabled public – including Plaintiff – to the
21    maximum extent feasible.
22                                   Failure to Modify Existing Policies and Procedures
23             29.       The ADA also requires reasonable modifications in policies, practices, or
24    procedures, when necessary to afford such goods, services, facilities, or accommodations to
25    individuals with disabilities, unless the entity can demonstrate that making such modifications
26    would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).
27
      1
       Nothing within this Complaint should be construed as an allegation that Plaintiff is bringing this action as a
28
      private attorney general under either state or federal statutes.




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 1               30.     Here, Defendants violated the ADA by failing to make reasonable modifications
 2    in policies, practices, or procedures at the Facility, when these modifications were necessary to
 3    afford (and would not fundamentally alter the nature of) these goods, services, facilities, or
 4    accommodations.
 5                                        Failure to Maintain Accessible Features
 6               31.     Defendants additionally violated the ADA by failing to maintain in operable
 7    working condition those features of the Facility that are required to be readily accessible to and
 8    usable by persons with disabilities.
 9               32.     Such failure by Defendants to maintain the Facility in an accessible condition
10    was not an isolated or temporary interruption in service or access due to maintenance or
11    repairs.
12               33.     Plaintiff seeks all relief available under the ADA (i.e., injunctive relief, attorney
13    fees, costs, legal expense) for these aforementioned violations. 42 U.S.C. § 12205.
14                                           VII.    SECOND CLAIM
15                                                   Unruh Act
16               34.     Plaintiff re-pleads and incorporates by reference the allegations contained in
17    each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
18               35.     California Civil Code § 51 states, in part, that: All persons within the
19    jurisdiction of this state are entitled to the full and equal accommodations, advantages,
20    facilities, privileges, or services in all business establishments of every kind whatsoever.
21               36.     California Civil Code § 51.5 also states, in part that: No business establishment
22    of any kind whatsoever shall discriminate against any person in this state because of the
23    disability of the person.
24               37.     California Civil Code § 51(f) specifically incorporates (by reference) an
25    individual’s rights under the ADA into the Unruh Act.
26               38.     Defendants’ aforementioned acts and omissions denied the physically disabled
27    public – including Plaintiff – full and equal accommodations, advantages, facilities, privileges
28    and services in a business establishment (because of their physical disability).



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 1             39.       These acts and omissions (including the ones that violate the ADA) denied,
 2    aided or incited a denial, or discriminated against Plaintiff by violating the Unruh Act.
 3             40.       Plaintiff was damaged by Defendants’ wrongful conduct, and seeks statutory
 4    minimum damages of $4,000 for each offense.
 5             41.       Plaintiff also seeks to enjoin Defendants from violating the Unruh Act (and
 6    ADA), and recover reasonable attorneys’ fees and costs incurred under California Civil Code
 7    § 52(a).
 8                                                VIII. THIRD CLAIM
 9                                 Denial of Full and Equal Access to Public Facilities
10             42.       Plaintiff re-pleads and incorporates by reference the allegations contained in
11    each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
12             43.       Health and Safety Code § 19955(a) states, in part, that: California public
13    accommodations or facilities (built with private funds) shall adhere to the provisions of
14    Government Code § 4450.
15             44.       Health and Safety Code § 19959 states, in part, that: Every existing (non-
16    exempt) public accommodation constructed prior to July 1, 1970, which is altered or
17    structurally repaired, is required to comply with this chapter.
18             45.       Plaintiff alleges the Facility is a public accommodation constructed, altered, or
19    repaired in a manner that violates Part 5.5 of the Health and Safety Code or Government Code
20    § 4450 (or both), and that the Facility was not exempt under Health and Safety Code § 19956.
21             46.       Defendants’ non-compliance with these requirements at the Facility aggrieved
22    (or potentially aggrieved) Plaintiff and other persons with physical disabilities. Accordingly,
23    Plaintiff seeks injunctive relief and attorney fees pursuant to Health and Safety Code § 19953.
24                                          IX.     PRAYER FOR RELIEF
25             WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, for:
26             1.        Injunctive relief, preventive relief, or any other relief the Court deems proper.
27             2.        Statutory minimum damages under section 52(a) of the California Civil Code
28                       according to proof.



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 1               3.       Attorneys’ fees, litigation expenses, and costs of suit.2
 2               4.       Interest at the legal rate from the date of the filing of this action.
 3               5.       For such other and further relief as the Court deems proper.
 4
      Dated: 9/13/2021                                       MOORE LAW FIRM, P.C.
 5
 6                                                           /s/ Tanya E. Moore
                                                             Tanya E. Moore
 7
                                                             Attorney for Plaintiff
 8                                                           Darren Gilbert

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          This includes attorneys’ fees under California Code of Civil Procedure § 1021.5.




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 1
                                              VERIFICATION
 2
 3
                I, DARREN GILBERT, am the plaintiff in the above-entitled action. I have read the
 4
       foregoing Complaint and know the contents thereof. The same is true of my own knowledge,
 5
       except as to those matters which are therein alleged on information and belief, and as to those
 6
       matters, I believe them to be true.
 7
                I verify under penalty of perjury that the foregoing is true and correct.
 8
 9
10
       Dated:     9/13/2021                                 /s/ Darren Gilbert
11                                                     Darren Gilbert
12
13             I attest that the original signature of the person whose electronic signature is shown
       above is maintained by me, and that his concurrence in the filing of this document and
14     attribution of his signature was obtained.
15                                                            /s/ Tanya E. Moore
16                                                     Tanya E. Moore
                                                       Attorney for Plaintiff,
17                                                     DARREN GILBERT
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